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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


MERAL. TYSON,

                       Plaintiff,
                                                          No. 1:15-cv-233 (GMS)
               v.

CONNECTIONS COMMUNITY SUPPORT
PROGRAMS, INC., a Delaware corporation,

                       Defendant.




                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41, the parties, by and through their

undersigned counsel, stipulate to dismissal of this action, and all claims and counterclaims they

have or could have brought against each other, with prejudice, with each party to bear its own

attorney's fees and costs.


AGREED TO BY THE PARTIES:


Isl Geoffrey G. Grivner                           ls/Noel E. Primos
Geoffrey G. Grivner (No. 4711)                    Noel E. Primos (No. 3124)
BUCHANAN INGERSOLL & ROONEY P.C.                  Schmittinger & Rodriguez, P.A.
919 North Market Street, Suite 1500               414 S. State Street'
Wilmington, DE 19801                              P.O. Box497
(302) 552-4200                                    Dover, DE 19903
geoffrey.grivner@bipc.com                         (302) 674-0140
                                                  nprimos@schmittrod.com.

Attorney for Defendant                            Attorney for Plaintiff


Dated: January 19, 2016
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                           APPROVED BY THE COURT this

                           Jnl~ay of _ _,,,._~---A-+• 2016:




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